Defendant was informed against for the crime of rape. He was tried and convicted of the offense charged in the information. Thereafter he made a motion for a new trial and in arrest of judgment, which motions were denied. Defendant prosecutes this appeal from the judgment.
The sole contention in the case is that the evidence is insufficient to support the verdict of the jury. We cannot agree with this contention. The nature of the evidence is such that we will refrain from stating it in detail. It is sufficient to say that the story told by the prosecutrix on the witness-stand as to the circumstances of the commission of the offense is not at all improbable. Moreover, it was corroborated in several essential respects by other witnesses, and particularly by a letter written by the defendant while in jail to the parents of the prosecutrix.
The judgment is affirmed.
Hall, J., and Cooper, P. J., concurred. *Page 278 